                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE:
                                                       Case No. 19-23010-CMB
Nicki M. Todaro,
                            Debtor/Plaintiff,          Chapter No. 13
         vs.
                                                       Adversary No. 20-02035-CMB
Wells Fargo Bank, N.A.,
                                   Defendant.          Related to Document Nos. 1, 10, 11, 24, 50


Wells Fargo Bank, N.A.,
                     Third Party Plaintiff,
       vs.

PNC Bank, N.A.,
                      Third Party Defendant.

                        STIPULATION OF FACTS AND DOCUMENTS

       Nicki M. Todaro, (“the Debtor”), and Wells Fargo Bank, N.A. (“Wells Fargo”) and PNC
Bank, N.A. (“PNC”), by and through their respective undersigned Counsel, hereby stipulate and
agree as follows:

         1. The Debtor and Vincent D. Todaro, the Debtor’s husband, acquired title to the real
            property located at 736 2nd Street in Newell, Pennsylvania through a Deed dated June
            7, 1990, and recorded on June 7, 1990, in the Office of the Recorder of Deeds in and
            for Fayette County, Pennsylvania, in Record Book Volume 696, at page 140, being the
            parcel of land situated in the Borough of Newell, Fayette County, Pennsylvania, having
            a mailing address of 736 2nd Street, Newell, PA 15466, and is designated as Fayette
            County Tax Parcel ID Number 23-02-0007 (the “Property”).

         2. Vincent D. Todaro passed away on August 30, 2005, passing all of his right, title, and
            interest in the Property to the Debtor as surviving tenant of the entireties.

         3. The Debtor is the current owner, and at all relevant times hereto has been the owner, of
            the Property, and she has, at all times relevant hereto, used the residence located on the
            Property as her primary residence.

         4. On or about April 23, 2007, PNC’s predecessor in interest, National City Bank
            (“National City”), provided a line of credit to the Debtor up to the maximum principal
            amount of $50,000.00 (the “PNC line of credit” or the “line of credit”).
5. In connection with the line of credit, the Debtor executed an Equity Reserve Agreement
   with National City dated April 23, 2007 (the “PNC Agreement”). A true and correct
   copy of the Agreement is attached hereto as Exhibit A.

6. The Debtor’s obligations under the Agreement were secured by a mortgage, executed
   by the Debtor, encumbering the Property (the “PNC Mortgage”). The PNC Mortgage
   was dated April 23, 2007, and recorded on May 11, 2007, in the Office of the Recorder
   of Deeds in and for Fayette County, Pennsylvania at Instrument Number
   200700006581. A true and correct copy of the PNC Mortgage is attached hereto as
   Exhibit B.

7. After the Debtor executed both the PNC Mortgage and the PNC Agreement in favor of
   National City, National City merged with and into PNC such that PNC assumed all of
   the rights, duties, obligations, and benefits of National City under the PNC Mortgage,
   the PNC Agreement, and the line of credit.

8. As of July 23, 2009, the Debtor’s balance on the PNC line of credit was $50,019.66.

9. In response to a request made by or on behalf of the Debtor, National City issued a
   payoff letter to the Debtor on August 3, 2009 (“Payoff Letter”). A true and correct
   copy of the Payoff Letter is attached hereto as Exhibit G. As shown on Exhibit G, the
   Payoff Letter includes a line item for “Prepayment penalty” in the amount of $350.00.
   The parties have not located any other revised, amended, or corrected payoff letter that
   was issued at that time.

10. On or about August 11, 2009, the Debtor executed and submitted a Loan Application
    to apply for a loan from Wells Fargo in the amount of $69,190.00 (“Loan Application”).
    A true and correct copy of the Loan Application is attached hereto as Exhibit C.

11. Following the submission of the Debtor’s Loan Application, Wells Fargo issued a
    Commitment Letter to the Debtor, which was received by the Debtor. A true and
    correct copy of the Commitment Letter is attached hereto as Exhibit D.

12. In connection with the loan transaction reflected in the Commitment Letter (the “Wells
    Fargo Loan”), the Debtor executed a mortgage in the amount of $69,190.00 in favor of
    Wells Fargo, encumbering the Property (the “Wells Fargo Mortgage”). The Wells
    Fargo Mortgage was dated August 11, 2009, and recorded on August 19, 2009, in the
    Office of the Recorder of Deeds in and for Fayette County, Pennsylvania at Instrument
    Number 200900009878. A true and correct copy of the Wells Fargo Mortgage is
    attached hereto as Exhibit E.

13. The Debtor also executed a note in the amount of $69,190.00 in favor of Wells Fargo
    on or about August 11, 2009 (the “Wells Fargo Note”). A true and accurate copy of
    the Wells Fargo Note is attached hereto as Exhibit F.
14. A HUD-1A Settlement Statement was prepared in connection with the closing of the
    Wells Fargo Loan (the “Settlement Statement”). A true and correct copy of the
    Settlement Statement is attached hereto as Exhibit H. The Settlement Statement
    accurately identifies various disbursements made in connection with the closing of the
    Wells Fargo Loan.

15. The Debtor’s agreement and understanding with Wells Fargo was that Wells Fargo
    would payoff the PNC line of credit from the loan proceeds provided by Wells Fargo
    on behalf of the Debtor in exchange for the Debtor granting Wells Fargo a mortgage
    on her residence and executing a note reflecting the loan payment terms.

16. As reflected on the Settlement Statement, Wells Fargo disbursed $50,481.66 to
    National City on August 18, 2009, via a branch payment (“Branch Payment”). In
    disbursing these funds, it was Wells Fargo’s intention to pay the payoff amount and
    prepayment penalty set forth in the Payoff Letter issued by National City.

17. When National City received the Branch Payment, it applied the funds to the Debtor’s
    line of credit account. After National City applied the Branch Payment to the line of
    credit, the Debtor’s balance on the line of credit was –$354.73 as reflected on the
    attached as Exhibits I, which are true and correct copies of statements prepared by
    National City and sent to the Debtor reflecting the activity on the Debtor’s line of credit
    account.

18. The parties have not located any written request or written instruction that was sent by
    Debtor or anyone on behalf of Debtor to National City or PNC which directed the line
    of credit to be terminated or otherwise frozen, closed, or canceled.

19. National City did not close the line of credit upon receipt of the Branch Payment.
    Accordingly, the line of credit remained open.

20. The PNC Mortgage was never satisfied of record. Accordingly, the PNC Mortgage
    remains of record.

21. Following the Branch Payment, the Debtor obtained further advances from the PNC
    line of credit beginning on September 9, 2009.

22. The Debtor has failed to repay the PNC line of credit and the Debtor has failed to repay
    the loan provided by Wells Fargo. The Debtor is therefore currently in default under
    the terms of both the PNC Mortgage and the Wells Fargo Mortgage.
INTENDING TO BE LEGALLY BOUND, WE HAVE EXECUTED THIS STIPULATION
ON THE 2nd DAY OF MAY, 2022.



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